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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           District of Delaware
                                       (State)                                                                                    ☐ Check if this is an
Case number (if known):                                        Chapter   11                                                           amended filing



     Official Form 201
     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                   04/20
     If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
     case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
     available.




1.   Debtor’s Name                               Airtek, LLC



2. All other names debtor used
   in the last 8 years




3. Debtor’s federal Employer
   Identification Number (EIN)        XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                          4410 W. 37th Avenue                                         10822 West Toller Drive, Suite 370
                                          Number           Street                                     Number         Street


                                                                                                      P.O. Box

                                          Hobart                           IN      46342              Littleton,                    CO         80127
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Lake
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 www.apcautotech.com




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor            Airtek, LLC                                                       Case number (if known)
           Name



6.   Type of debtor                     ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                        ☐ Partnership (excluding LLP)

                                        ☐ Other. Specify:

                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            3343 (Motor Vehicle Parts Manufacturing)

8. Under which chapter of the               Check One:
   Bankruptcy Code is the
   debtor filing?                           ☐ Chapter 7

                                            ☐ Chapter 9

      A debtor who is a “small              ☒ Chapter 11. Check all that apply:
      business debtor” must check
      the first sub-box. A debtor as                          ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      defined in § 1182(1) who                                  aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      elects to proceed under                                   affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      subchapter V of chapter 11                                balance sheet, statement of operations, cash-flow statement, and federal income tax
      (whether or not the debtor is a                           return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      “small business debtor”) must                             1116(1)(B).
      check the second sub-box.
                                                              ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
                                                                liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
                                                                and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                                selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if any of these documents do not exist,
                                                                follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              ☒ A plan is being filed with this petition.

                                                              ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                              ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            ☐ Chapter 12




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           Airtek, LLC                                                          Case number (if known)
          Name



9. Were prior bankruptcy cases          ☒ No
   filed by or against the debtor       ☐ Yes.        District                            When                        Case number
   within the last 8 years?                                                                       MM/DD/YYYY
   If more than 2 cases, attach a                     District                            When                        Case number
   separate list.                                                                                 MM/DD/YYYY

10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship     Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                         District      District of Delaware                             When             06/03/2020
   List all cases. If more than 1,                                                                                                   MM / DD / YYYY
   attach a separate list.                         Case number, if known _______________________


11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other

                                                 Where is the property?
                                                                                        Number         Street



                                                                                        City                               State       Zip Code

                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.          Insurance agency

                                                                 Contact name
                                                                 Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                          ☐      1,000-5,000                    ☐    25,001-50,000
    creditors (on a                   ☐     50-99                         ☐      5,001-10,000                   ☐    50,001-100,000
    consolidated basis)               ☐     100-199                       ☐      10,001-25,000                  ☐    More than 100,000
                                      ☒     200-999




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
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Debtor           Airtek, LLC                                                      Case number (if known)
          Name



15. Estimated assets (on a          ☐     $0-$50,000                 ☐     $1,000,001-$10 million                   ☐    $500,000,001-$1 billion
    consolidated basis)             ☐     $50,001-$100,000           ☐     $10,000,001-$50 million                  ☐    $1,000,000,001-$10 billion
                                    ☐     $100,001-$500,000          ☐     $50,000,001-$100 million                 ☐    $10,000,000,001-$50 billion
                                    ☐     $500,001-$1 million        ☒     $100,000,001-$500 million                ☐    More than $50 billion

16. Estimated liabilities (on       ☐     $0-$50,000                  ☐    $1,000,001-$10 million                   ☒    $500,000,001-$1 billion
    a consolidated basis)           ☐     $50,001-$100,000            ☐    $10,000,001-$50 million                  ☐    $1,000,000,001-$10 billion
                                    ☐     $100,001-$500,000           ☐    $50,000,001-$100 million                 ☐    $10,000,000,001-$50 billion
                                    ☐     $500,001-$1 million         ☐    $100,000,001-$500 million                ☐    More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of      The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of      petition.
    debtor
                                      I have been authorized to file this petition on behalf of the debtor.
                                      I have examined the information in this petition and have a reasonable belief that the information is true and
                                      correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                      Executed on            06/03/2020
                                                           MM/ DD / YYYY


                                           /s/ Patricia Warfield                                          Patricia Warfield
                                           Signature of authorized representative of debtor                Printed name

                                           Title    Authorized Signatory




18. Signature of attorney                  /s/ Domenic E. Pacitti                                           Date         06/03/2020
                                           Signature of attorney for debtor                                             MM/ DD/YYYY



                                           Domenic E. Pacitti

                                           Klehr Harrison Harvey Branzburg LLP
                                           Firm name
                                           919 N. Market Street, Suite 1000
                                           Number                   Street
                                           Wilmington                                                          Delaware                19801
                                           City                                                                 State                  ZIP Code
                                           (302) 426-1189                                                       dpacitti@klehr.com
                                           Contact phone                                                            Email address
                                           3989                                                 Delaware
                                           Bar number                                          State




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    Fill in this information to identify the case:


    United States Bankruptcy Court for the:
                           District of Delaware
                                             (State)                                             ☐ Check if this is an
    Case number (if                                                                                  amended filing
    known):                                            Chapter   11


                                            Rider 1
             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to this chapter 11 case of Debtor APC Automotive Technologies Intermediate
Holdings, LLC.
Airtek, LLC
AP Emissions Technologies, LLC
AP Exhaust Products DISC, Inc.
APC Automotive Technologies Intermediate Holdings, LLC
APC Automotive Technologies, LLC
Aristo, LLC
CWD Acquisition, LLC
CWD Holding Corp.
CWD Intermediate Holding Corp.
CWD, LLC
Eastern Manufacturing, LLC
Qualis Automotive, L.L.C.
Qualis Enterprises, Inc.
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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

                                                             )
    In re:                                                   )     Chapter 11
                                                             )
    AIRTEK, LLC,                                             )     Case No. 20-______ (___)
                                                             )
                               Debtor.                       )
                                                             )

                                      LIST OF EQUITY SECURITY HOLDERS1

                                                                                                       Percentage of
                Equity Holder                             Address of Equity Holder
                                                                                                        Equity Held
                                                10822 West Toller Drive,
    APC Automotive Technologies, LLC            Suite 370,                                                  100%
                                                Littleton, CO 80127




1      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
       Bankruptcy Procedure.
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 AIRTEK, LLC,                                         )    Case No. 20-______ (___)
                                                      )
                          Debtor.                     )
                                                      )

                               CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

 APC Automotive Technologies, LLC                                              100%
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                                SECRETARY CERTIFICATE

                                        May 30-31, 2020

The undersigned, Patricia Warfield, as the authorized signatory of the entities listed on Annex A
and Annex B of the Omnibus Resolutions attached hereto as Exhibit A (each such entity, a “Group
Company” and, collectively, the “Group Companies”), hereby certifies as follows:

1.     I am the duly qualified and elected secretary or authorized signatory, as applicable, of each
       of the Group Companies and, as such, I am familiar with the facts herein certified and I am
       duly authorized to certify the same on behalf of each of the Group Companies.

2.     Attached hereto is a true, complete, and correct copy of the resolutions of the Group
       Companies’ boards of directors, boards of managers, sole manager, and/or sole member,
       as applicable (collectively, the “Board”), duly adopted at properly convened and joint
       meetings of the Board on May 30 and 31, 2020, in accordance with the applicable limited
       liability company agreement, operating agreement, bylaws, or similar governing document
       (in each case as amended or amended and restated) of each Group Company.

3.     Since their adoption and execution, the resolutions have not been modified, rescinded, or
       amended and are in full force and effect as of the date hereof, and the resolutions are the
       only resolutions adopted by the Board relating to the authorization and ratification of all
       corporate actions taken in connection with the matters referred to therein.




                                    [Signature page follows]
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        IN WITNESS WHEREOF, I have hereunto set my hand on behalf of each Group Company
as of the date hereof.




                                                  By:    ______________________________
                                                  Name: Patricia Warfield
                                                  Title: Authorized Signatory




                           [Signature Page to Omnibus Resolutions]
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                        Exhibit A
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             OMNIBUS RESOLUTIONS OF THE GOVERNING BODIES OF
              APC AUTOMOTIVE TECHNOLOGIES HOLDINGS, LLC
                          AND ITS SUBSIDIARIES


                                          May 30-31, 2020

        WHEREAS, all of the members of the board of directors or board of managers, as
applicable, or the sole manager and/or the sole member, as applicable (each, a “Governing Body”
and, collectively, the “Governing Bodies”), of APC Automotive Technologies Holdings, LLC (the
“Company”) and the wholly-owned direct and indirect subsidiaries of the Company listed on
Annex B attached hereto (such subsidiaries, collectively the “Filing Subsidiaries,” and together
with the Company, the “Group Companies”) considered presentations by management
(the “Management”) and the financial and legal advisors (collectively, the “Advisors”) of the
Group Companies regarding the liabilities and liquidity situation of and the strategic alternatives
available to each Group Company, and the effect of the foregoing on such Group Companies’
respective businesses;

       WHEREAS, the Group Companies negotiated and, as of May 31, 2020, entered into the
Restructuring Support Agreement (the “Restructuring Support Agreement”), which agreement
contemplates a comprehensive restructuring of the Filing Subsidiaries’ capital structure on the
terms and subject to the conditions set forth therein;

        WHEREAS, pursuant to the direction of each Governing Body, the Group Companies’
Management and Advisors engaged in good-faith negotiations with the Consenting Sponsors and
Consenting Lenders (each as defined in the Restructuring Support Agreement) regarding the terms
of the Joint Prepackaged Chapter 11 Plan of Reorganization of APC Automotive Technologies
Holdings, LLC and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as may
be amended, modified, or supplemented, the “Plan”);

        WHEREAS, each Governing Body, based on its business judgment and acting in the best
interests of the applicable Group Company, its respective creditors, and other parties in interest,
approved the Plan and the disclosure statement in support of the Plan (the “Disclosure Statement”)
related thereto for solicitation of votes from the holders of that certain First Lien Credit Agreement,
dated May 10, 2017 (as amended, restated, amended and restated, supplemented, or otherwise
modified or replaced from time to time in accordance with its terms), by and among APC
Automotive Technologies Intermediate Holdings, LLC and certain of its affiliates and subsidiaries,
as borrowers and guarantors, the applicable agent, and the applicable term loan lenders (as
described in the Restructuring Support Agreement, the “First Lien Credit Agreement”) entitled to
vote on the Plan and for filing with the United States Bankruptcy Court for the District of
Delaware, if and when appropriate, and solicitation of the Plan will commence on or around May
31, 2020;

       WHEREAS, the deadline for the receipt of votes to accept or reject the Plan will be June
24, 2020;
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         WHEREAS, the Restructuring Support Agreement contemplates that the Filing
Subsidiaries will obtain debtor-in-possession financing consisting of (i) (a) a “roll-up” of that
certain ABL Credit Agreement, dated May 10, 2017 (as amended, restated, amended and restated,
supplemented, or otherwise modified or replaced from time to time in accordance with its terms),
by and among the Filing Subsidiaries, as borrower and guarantors, the applicable agent, and the
applicable lenders (the “ABL Credit Agreement”) on terms set forth in the term sheet (the “ABL
DIP Term Sheet”) reviewed by the Governing Bodies (the “ABL DIP Facility”) and (b) a new
money term debtor-in-possession credit facility in the aggregate principal amount of $50 million
($43.5 million of which is committed as of the Petition Date and $6.5 million of which will be
committed on or before the date by which the Plan Supplement (as defined in the Plan) must be
filed) on terms set forth in the Term DIP Commitment Letter (as defined Restructuring Support
Agreement) (the “Term DIP Facility”, and together with the ABL DIP Facility, the “DIP
Facilities”) and (ii) the entry into a credit agreement for an exit term loan facility and an exit ABL
facility upon emergence from the Chapter 11 Cases (the “Exit Financings”);

       WHEREAS, the respective members of each Governing Body’s management team and its
advisors have apprised such Board of the key terms of the Restructuring Support Agreement, the
DIP Facilities, and the Exit Financings, as applicable, and such Board has had the opportunity to
review the forms or key terms of such documents; and

        WHEREAS, each Governing Body discussed the foregoing with the Management and
Advisors of the applicable Group Company and each Governing Body has fully considered each
of the strategic alternatives available to the applicable Group Company and has determined, in the
judgment of each Governing Body, that the following resolutions are in the best interests of the
applicable Group Company, and its respective creditors.

       NOW, THEREFORE, BE IT:

       RESTRUCTURING              SUPPORT         AGREEMENT;            CHAPTER         11    PLAN;
       SOLICITATION

         RESOLVED, that in the business judgment of each Governing Body, it is desirable, and in
the best interests of the applicable Group Company, its respective creditors, and other parties in
interest, to have entered into the Restructuring Support Agreement and the applicable Group
Company’s performance of its obligations under the Restructuring Support Agreement, including
the negotiation and documentation of the Plan and commencement of the prepackaged solicitation
of the Plan and Disclosure Statement (as defined in the Restructuring Support Agreement), and all
exhibits, schedules, attachments, and ancillary documents or agreements related thereto, hereby is,
in all respects approved and ratified with the same force and effect as if each such act, transaction,
agreement, or certificate had been specifically authorized in advance by each Governing Body.

       CHAPTER 11 FILING

        RESOLVED, that in the judgment of each Governing Body, it is desirable and in the best
interests of the applicable Filing Subsidiary, its respective creditors, and other parties in interest,
that the applicable Filing Subsidiary shall be and hereby is authorized to file or cause to be filed a
voluntary petition for relief (such voluntary petition and the voluntary petitions to be filed by the



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Filing Subsidiaries, collectively, the “Chapter 11 Cases”) under the provisions of chapter 11 of
title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) or other court of
competent jurisdiction.

        RESOLVED, that the Chief Executive Officer, Chief Financial Officer, Chief Operating
Officer, General Counsel, Secretary, any Executive Vice President, any Senior Vice President, any
Vice President, or any other duly appointed officer of any Group Company (collectively, the
“Authorized Officers”), acting alone or with one or more other Authorized Officers be, and each
of them hereby is, authorized, empowered, and directed to execute and file on behalf of the
applicable Group Company all petitions, schedules, lists, and other motions, pleadings, papers, or
documents (including the filing of financing statements), and to take any and all action that they
deem necessary, appropriate, or desirable to obtain such relief, including, without limitation, any
action necessary, appropriate, or desirable to maintain the ordinary course operation of the Filing
Subsidiaries’ respective businesses.

       RETENTION OF PROFESSIONALS

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered and directed to employ the law firm of Kirkland & Ellis LLP (“Kirkland”), as each
Filing Subsidiary’s counsel, to represent and assist each Filing Subsidiary in carrying out its duties
under the Bankruptcy Code and to take any and all actions to advance each Filing Subsidiary’s
rights and remedies, including filing any pleadings and conducting any potential sale process on
behalf of each Filing Subsidiary; and, in connection therewith, each of the Authorized Officers,
with power of delegation, is hereby authorized, empowered and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain Kirkland in accordance with applicable law.

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered and directed to employ the law firm of Klehr Harrison Harvey Branzburg LLP
(“Klehr”), as local bankruptcy counsel to represent and assist each Filing Subsidiary in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance each Filing
Subsidiary’s rights and obligations, including filing any motions, objections, replies, applications,
or pleadings; and in connection therewith, each of the Authorized Officers, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Klehr.

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered and directed to employ the firm of Jefferies Group LLC (“Jefferies”) as each Filing
Subsidiary’s financial advisor, to represent and assist each Filing Subsidiary in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance each Filing
Subsidiary’s rights and remedies; and, in connection therewith, each of the Authorized Officers is,
with power of delegation, hereby authorized, empowered and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain Jefferies in accordance with applicable law.



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       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered and directed to employ the firm of WeinsweigAdvisors LLC (“WeinsweigAdvisors”),
as each Filing Subsidiary’s restructuring advisor, to represent and assist each Filing Subsidiary in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance each
Filing Subsidiary’s rights and remedies; and, in connection therewith, each of the Authorized
Officers is, with power of delegation, hereby authorized, empowered and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain WeinsweigAdvisors in accordance with applicable law.

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered and directed to employ the firm of Bankruptcy Management Solutions, Inc.,
(“Stretto”), as each Filing Subsidiary’s notice, claims, and balloting agent and as administrative
advisor, to represent and assist each Filing Subsidiary in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance each Filing Subsidiary’s rights and
remedies; and, in connection therewith, each of the Authorized Officers, with power of delegation,
is hereby authorized, empowered and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain
Stretto in accordance with applicable law.

        RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered and directed to employ the firm of Ernst & Young LLP (“EY LLP”), as each Filing
Subsidiary’s tax advisor, to represent and assist each Filing Subsidiary in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance each Filing Subsidiary’s
rights and remedies; and, in connection therewith, each of the Authorized Officers, with power of
delegation, is hereby authorized, empowered and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain EY LLP in accordance with applicable law.

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized,
empowered and directed to employ any other professionals to assist each Filing Subsidiary in
carrying out its duties under the Bankruptcy Code; and, in connection therewith, each of the
Authorized Officers, with power of delegation, is hereby authorized, empowered and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of any other professionals as necessary,
appropriate, or desirable, including (without limitation) special counsel to the extent determined
necessary, appropriate, or desirable.

       RESOLVED, that each of the Authorized Officers be, and hereby is, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain legal counsel, accountants, financial advisors, restructuring advisors, and other
professionals and to take and perform any and all further acts and deeds that each of the Authorized
Officers deem necessary, appropriate, or desirable in connection with each Filing Subsidiary’s
Chapter 11 Case.




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       Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

      RESOLVED, that each Governing Body will obtain benefits, which are necessary and
convenient to the conduct, promotion and attainment of the business of such Governing Body,
from:

       (i) the use of collateral, including cash collateral, as that term is defined in section 363(a)
       of the Bankruptcy Code (the “Cash Collateral”), which is security for the holders of claims
       under the (a) the ABL Credit Agreement; and (b) the First Lien Credit Agreement
       (together, the “Secured Parties”); and

       (ii) the incurrence of the DIP Facilities by entering into credit agreements for each of the
       ABL DIP Facility and Term Loan DIP Facility that reflect the terms as set forth in the ABL
       DIP Term Sheet and Term DIP Commitment Letter, respectively (together, the “DIP Credit
       Agreements”) to be dated on or about June 3, 2020.

        RESOLVED, that in order to use and obtain the benefits of the DIP Facilities and Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, certain of the Filing
Subsidiaries will provide certain adequate protection to the Secured Parties (the “Adequate
Protection Obligations”), as documented in a proposed order in interim and final form (the “DIP
Order”) and submitted for approval to the Bankruptcy Court.

       RESOLVED, that the form, terms and provisions of the DIP Credit Facilities be, and
hereby are, in all respects approved.

        RESOLVED, that the form, terms, and provisions of the DIP Order to which the Filing
Subsidiaries are or will be subject, and the actions and transactions contemplated thereby be, and
hereby are authorized, adopted, and approved, and each of the Authorized Officers of the Group
Companies be, and hereby are, authorized and empowered, in the name of and on behalf of each
of the Filing Subsidiaries, to take such actions and negotiate or cause to be prepared and negotiated
and to execute, deliver, perform, and cause the performance of, the DIP Order and the DIP Credit
Agreements, and such other agreements, certificates, instruments, receipts, petitions, motions, or
other papers or documents to which any Filing Subsidiary is or will be a party, including, but not
limited to, any security and pledge agreement or guaranty agreement (collectively with the DIP
Order and the DIP Credit Agreements, the “DIP Documents”), incur and pay or cause to be paid
all fees and expenses and engage such persons, in each case, in the form or substantially in the
form thereof submitted to the Board, with such changes, additions, and modifications thereto as
the officers of each Filing Subsidiary executing the same shall approve, such approval to be
conclusively evidenced by such officers’ execution and delivery thereof.

        RESOLVED, that each Filing Subsidiary, as debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations and
to undertake any and all related transactions on substantially the same terms as contemplated under
the DIP Documents (collectively, the “DIP Transactions”), including the guaranty of the
obligations thereunder and the granting of liens on substantially all of its assets to secure such
obligations.




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        RESOLVED, that the Authorized Officers of each Filing Subsidiary be, and they hereby
are, authorized and directed, and each of them acting alone hereby is, authorized, directed, and
empowered in the name of, and on behalf of, each Filing Subsidiary, as debtor and debtor in
possession, to take such actions as in their discretion is determined to be necessary, desirable, or
appropriate and execute the DIP Transactions, including delivery of: (a) the DIP Documents and
such agreements, certificates, instruments, fee letters, guaranties, notices, and any and all other
documents, including, without limitation, any amendments to any DIP Documents; (b) such other
agreements, instruments, certificates, notices, assignments, and documents as may be reasonably
requested by the respective agents under the DIP Facilities (the “DIP Agents”); and (c) such forms
of account control agreements, lockbox agreements, landlord agreements, collateral access
agreements, warehouse waivers, other agreements with third parties relating to the Collateral (as
defined in the DIP Credit Agreements), officer’s certificates, and compliance certificates as may
be required by the DIP Documents (clauses (a) through (c) of this paragraph, collectively,
the “DIP Financing Documents”).

         RESOLVED, that each of the Authorized Officers of each Filing Subsidiary be, and hereby
is, authorized, directed, and empowered in the name of, and on behalf of, each Filing Subsidiary
to file or to authorize the DIP Agents to file any Uniform Commercial Code (the “UCC”) financing
statements, any other equivalent filings, any intellectual property filings and recordation, and any
necessary assignments for security or other documents in the name of each Filing Subsidiary that
the respective DIP Agents deem necessary or appropriate to perfect any lien or security interest
granted under the DIP Order, including any such UCC financing statement containing a generic
description of collateral, such as “all assets,” “all property now or hereafter acquired,” and other
similar descriptions of like import, and to execute and deliver, and to record or authorize the
recording of, such mortgages and deeds of trust in respect of real property of the Filing Subsidiaries
and such other filings in respect of intellectual and other property of the Filing Subsidiaries, in
each case as the DIP Agents may reasonably request to perfect any security interests of the DIP
Agents under any DIP Financing Document.

        RESOLVED, that each of the Authorized Officers of each Filing Subsidiary be, and hereby
is, authorized, directed, and empowered in the name of, and on behalf of, each Filing Subsidiary
to take all such further actions, including, without limitation, to pay or approve the payment of all
fees and expenses payable in connection with the DIP Transactions and all fees and expenses
incurred by or on behalf of such Filing Subsidiaries in connection with the foregoing resolutions,
in accordance with the terms of the DIP Financing Documents, which shall in their sole judgment
be necessary, proper, or advisable to perform such Filing Subsidiaries’ obligations under or in
connection with the DIP Order or any of the other DIP Financing Documents and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions.




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       GENERAL

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
hereby is, authorized and empowered, in the name of and on behalf of the applicable Group
Company, to take or cause to be taken any and all such other and further action, and to execute,
acknowledge, deliver, and file any and all such agreements, certificates, instruments, and other
documents and to pay all expenses, in each case as in such Authorized Officer’s or Authorized
Officers’ judgment, shall be necessary, appropriate, or desirable in order to fully carry out the
intent and accomplish the purposes of the Resolutions adopted herein.

        RESOLVED, that each Governing Body has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing Resolutions, as may be required
by the organizational documents of each Group Company, or hereby waives any right to have
received such notice.

        RESOLVED, that any and all acts, actions, and transactions relating to the matters
contemplated by the foregoing Resolutions done in the name of and on behalf of any Group
Company prior to the date of this consent be, and are hereby in all respects approved, confirmed
and ratified as the true acts and deeds of each Group Company with the same force and effect as
if each such act, transaction, agreement, or certificate had been specifically authorized in advance
by resolution of each Governing Body.

        RESOLVED, that each of the Authorized Officers (and their designees and delegates) and
each other partner, member, or managing member of any Group Company or any of such Group
Company’s direct subsidiaries, be and hereby is authorized and empowered to take all actions or
to not take any action in the name of and on behalf of the applicable Group Company with respect
to the transactions contemplated by these Resolutions hereunder as the sole shareholder, partner,
member, or managing member of any direct subsidiary of any Group Company, in each case, as
such Authorized Officer shall deem necessary, appropriate, or desirable in such Authorized
Officer’s reasonable business judgment as may be necessary, appropriate, or desirable to effectuate
the purposes of the transactions contemplated herein.


                                 *       *       *       *      *




                                                10
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                           Annex A (Non-Filing Entity)


COMPANY                                                          JURISDICTION
APC Automotive Technologies Holdings, LLC                           Delaware




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                    Annex B (Filing Entity)

COMPANY                                       JURISDICTION
AirTek, LLC                                      Delaware
APC Automotive Technologies, LLC                 Delaware
APC Automotive Technologies                      Delaware
Intermediate Holdings, LLC
AP Emissions Technologies, LLC                  Delaware
AP Exhaust Products DISC, Inc.                  Delaware
Aristo, LLC                                     Delaware
CWD Acquisition, LLC                            Delaware
CWD Holding Corp.                               Delaware
CWD Intermediate Holding Corp.                  Delaware
CWD, LLC                                        California
Eastern Manufacturing, LLC                     Pennsylvania
Qualis Automotive, L.L.C.                       Delaware
Qualis Enterprises, Inc.                         Indiana




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      Fill in this information to identify the case:

      Debtor name     APC Automotive Technologies Intermediate Holdings, LLC et al

      United States Bankruptcy Court for the:                               District of Delaware

      Case number (If known):
                                                                                     (State)
                                                                                                                                                 Check if this is an
                                                                                                                                                    amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and        Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 contact                            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                    professional          unliquidated,   total claim amount and deduction for value of
                                                                                    services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                    government
                                                                                    contracts)

                                                                                                                          Total claim, if    Deduction for       Unsecured
                                                                                                                          partially          value of            claim
                                                                                                                          secured            collateral or
                                                                                                                                             setoff


1    Longkou Qizheng Auto Parts Co.
     East Of Longkou Development Zo
                                                Sanny Kim
     Longkou City, 265703
                                                P: 0086-35388607                        Trade Vendor                                                            $4,199,563.58
     China
                                                F:



2
     Posam (Posco America)                      Cris Alarcon
     Po Box 1625 Hwy 401 Bypass                 P: 336-883-7146:EXT 3356
                                                                                        Trade Vendor                                                            $2,723,043.97
     Laurinburg, NC 28353                       F: 770-814-4802
                                                ryan.s@poscoamerica.com

     Qingdao Gihon Auto Parts
3    98 Chongqing S Rd                          Zhou Laichun
     Si Fang Qu                                 P: 86-53285657735
     Qingdao                                    F: 0532-83191021; 0532-                 Trade Vendor                                                            $2,137,703.32
     Shandong,                                  83191510
     China                                      info@gihonbrakes.com

     Laizhou Sanli Auto                         Yang Liya
4
     Zhuqiao Town Laizhou                       P: 86-535-3455-896; 86-
     Laizhou                                    5353455870
                                                                                        Trade Vendor                                                            $1,637,752.08
     Shandong, 261419                           F: 0535-3455886
     China                                      info@sanliauto.com;
                                                liyan@sanliauto.com

5    Zhejiang Lizhong Ind. Co., Ltd
                                                Bill Cline
     Bb & T Factors Corporation
                                                P: 647-282-0617
     PO Box 890011                                                                      Trade Vendor                                                            $1,548,258.62
                                                F:
     Charlotte, NC 05445
                                                nancy.miao@zjlizhong.com


6
     American Express
                                                Attn Director or Officerr
     1560 East Adam Drive
                                                P: 920-339-9345                         Trade Vendor                                                            $1,287,945.41
     Depere, WI 54115
                                                F: 212-619-9743



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    Debtor        APC Automotive Technologies Intermediate Holdings, LLC                              Case number (if known) ________________        ______




     Name of creditor and complete          Name, telephone number, and       Nature of the claim   Indicate if      Amount of unsecured claim
     mailing address, including zip code    email address of creditor         (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                           debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                              professional          unliquidated,    total claim amount and deduction for value of
                                                                              services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)

                                                                                                                     Total claim, if      Deduction for       Unsecured
                                                                                                                     partially            value of            claim
                                                                                                                     secured              collateral or
                                                                                                                                          setoff


7    Borui Brake Systems N.A.              Bill Jiang
     26741 Portola Pkwy                    P: 714-357-9412
     Suite1E401                            F: 86-546-8955198                     Trade Vendor                                                                 $1,120,885.86
     Foothill Ranch, CA 92610              info@boruiauto.com;
                                           b.griffin@discbrakepts.com

     Shandong Xinchang Environ
8    Xizhangjiagou Village                 Jian Feng
     Donglai District                      P: 86-15192369002
     Longkou City                                                                Trade Vendor                                                                 $935,755.84
                                           F:
     Shandong,                             tina9112@126.com
     China

9
     Eastern-Dorman, LLC
                                           Attn Director or Officer
     7870 12 Ave South
                                           P:                                    Trade Vendor                                                                 $895,739.18
     Bloomington, MN 55425
                                           F:


     Longkou Qizheng Auto Part
10
     Longkou Economic Development
                                           Attn Director or Officer
     Zone
                                           P: 0086-53588607                      Trade Vendor                                                                 $849,978.74
     Longkou, 265703
                                           F:
     China


11 Xianghe Xumingyuan Auto                 Attn Director or Officer
   South Xiushui Street Shuyang Ind        P: 86-316-8580-802
   Park Xianghe                            F: 86-316-8589376
                                                                                 Trade Vendor                                                                 $844,205.20
   Langfang, 65400                         harvey.wang@zichen-
   China                                   casting.com; adela.qian@zichen-
                                           casting.com

12
     Automotive Parts Service
                                           Kevin Sullivan
     1637 Kingsview Drive
                                           P: 866-529-0412                       Trade Vendor                                                                 $813,107.71
     Lebanon, OH 45036
                                           F:


   Yusin Brake Corp.,
13 5Th Floor No. 381 Wufeng North
                                           Yao-Jen Hsu
   Road                                    P: 561-697-4502
   Taiwan Branch                                                                 Trade Vendor                                                                 $765,804.30
                                           F: 866-5-2789-699
   Chiayi City, 600                        GDM@bourneusa.com
   Taiwan

14 Centric Parts
                                           Nathan Keller
   21046 S. Figueroa St.
                                           P: 310-218-1082
   Unit B                                                                        Trade Vendor                                                                 $706,993.69
                                           F: 626-961-5877
   Carson, CA 23830
                                           tech@centricparts.com


15                                         Hector Verdugo Ramos
     Logical Clean Air
                                           P: 888-310-4192
     Solutions 2945 Townsgate Rd
                                           F:                                    Trade Vendor                                                                 $668,537.87
     Westlake Village, CA 91359
                                           hamid@logicalcleanairsolutions.c
                                           om




    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                         page 1
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  Debtor        APC Automotive Technologies Intermediate Holdings, LLC                              Case number (if known) ________________         ______




   Name of creditor and complete          Name, telephone number, and       Nature of the claim   Indicate if      Amount of unsecured claim
   mailing address, including zip code    email address of creditor         (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                          contact                           debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,    total claim amount and deduction for value of
                                                                            services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)

                                                                                                                   Total claim, if       Deduction for       Unsecured
                                                                                                                   partially             value of            claim
                                                                                                                   secured               collateral or
                                                                                                                                         setoff


16 Kwongkee Auto Exh Sys Ltd             Attn Director or Officer
   Bldg 2 5500 Shenzhuan Road
                                         P: 86-21-31273333
   Dongjin Town
                                         F: 86-763-868868                      Trade Vendor                                                                  $507,189.40
   Songjian District, SH 201619
                                         info@auto-muffler.com;
   China
                                         sam@automuffler.com

17 US CBP
   Contact A Specific Cbp Office         Michael Wick
   1300 Pennsylvania Ave. NW             P: 877-227-5511                       Trade Vendor                                                                  $487,839.10
   Washington, DC 20229                  F:


   Yantai Hosino Co., Ltd.
18 No.1 Muhuang Rd Economic              Jing Jiang
   Development Zone                      P:
   Longkou City                          F: 86-0535-8889639                    Trade Vendor                                                                  $485,142.18
   Shandong,                             sales@hosinoparts.com;
   China                                 cindy.hosinoparts.com

19 Longkou Jinzheng Machiner             Attn Director or Officer
   Haoyuan Industrial Park               P: 86-535-3456-888
   Xufu Town Longkou, 265713             F: 86-535-3451999                     Trade Vendor                                                                  $471,876.74
   China                                 webmaster@brakemotor.cc;
                                         sales01@brakerotor.cc

20 Kwong Kee
                                         Attn: Duncan Huang
   39625 Lewis Drive
                                         P: 248-489-7190
   Suite 500                                                                   Trade Vendor                                                                  $470850.84
                                         F:
   Novi, MI 48374
                                         angel@auto-muffler.com


21 Ngk Automotive Ceramics               Duncan Huang
   39625 Lewis Drive                     P: 248-489-7190
   Suite 500                             F: 248-489-8055                       Trade Vendor                                                                  $464,828.48
   Novi, MI 48374                        info@ngk-detroit.com;
                                         billspiller@ngk-detroit.com

22 Longkou Rongdi Mechanic               Sha Shengxing
   Pioneer Park
                                         P: 0535-31228616
   Langao Town
                                         F:                                    Trade Vendor                                                                  $449,934.06
   Longkou,
                                         qiyidan66@163.com;
   China
                                         kokoliu2015@yahoo.com

23 MK Kashiyama Corp.                    Tsuyoshi Kashiyama
   1119 Otai Saku City                   P: 81-(0)XXX-XX-XXXX; 81-(0)267-
   Nagano, 3850009                       66-1755                               Trade Vendor                                                                  $432,114.10
   Japan                                 F: 81-(0)XXX-XX-XXXX
                                         mizusawa@mkg.co.jp

24 Yuhuan Jianghong Machiner             Zhang Yuliang
   Yucheng Sub District
                                         P: 86-57689916662
   Yuhuan County
                                         F: 86-576-89916298                    Trade Vendor                                                                  $422,469.20
   Zhejiang, 317600
                                         sales@allbrakecalipers.com;
   China
                                         helen.shen@allbrakecalipers.com




  Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                         page 2
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  Debtor         APC Automotive Technologies Intermediate Holdings, LLC                                 Case number (if known) ________________        ______




     Name of creditor and complete          Name, telephone number, and         Nature of the claim   Indicate if      Amount of unsecured claim
     mailing address, including zip code    email address of creditor           (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                             debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                                professional          unliquidated,    total claim amount and deduction for value of
                                                                                services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)

                                                                                                                       Total claim, if      Deduction for       Unsecured
                                                                                                                       partially            value of            claim
                                                                                                                       secured              collateral or
                                                                                                                                            setoff


25
     Neo Chemicals And Oxides              Rahim Suleman
     PO Box 912632                         P: 416-367-8588
                                                                                   Trade Vendor                                                                 $407,960.00
     Denver, CO 12421                      F:
                                           f.ng@neomaterials.com


26 Fmp Asia-Thailand Limited
                                           Attn Director or Officer
   Pluak Daeng, Pluak Daeng District
                                           P: 66-38-954-515
   Rayong, 21140                                                                   Trade Vendor                                                                 $350,850.49
                                           F:
   China
                                           BMNA@msn.com


27 Stag Industrial Holdings, Llc           Federico Falcone
   Langh1                                  P: 617-226-4963
   C/O Stag Langhorne LLC 1                F:
                                                                                   Trade Vendor                                                                 $345,794.03
   One Federal Street - 23rd Floor         inverstorrelations@stagindustrial.
   Boston, MA 02108                        com;
                                           dshriber@stagindustrial.com

28
     Bluecross Blueshield
                                           Customer Service
     PO Box 580017
                                           P: 888-630-2583                         Trade Vendor                                                                 $268,350.34
     Charlotte, NC 05445
                                           F:


29 Lynnco Supply Chain                     Louis Huang
   Iron & Steel Product Div
                                           P: 917-992-6968:EXT ROSS
   200 East Randolph Drive
                                           F:                                      Trade Vendor                                                                 $263,792.73
   Suite 5200
                                           information@lynnco-scs.com;
   Chicago, IL 60601
                                           hildreth@aktube.com

30 Shandong Gold Phoenix Co.
                                           Attn Director or Officer
   999 Fule Road
                                           P: 86-531-8117-3975
   Leling, 253600                                                                  Trade Vendor                                                                 $259,843.54
                                           F:
   China
                                           xuyuan@chinabrake.com


31 Friction One Brake Techno               Attn Director or Officer
                                           P: 0728-3251640
   No. 10 Mianzhou Blvd Industrial
                                           F:
   Park Xiantao City, Hubei                                                        Trade Vendor                                                                 $259,740.36
                                           gary.li@friction1.com;
   China
                                           jenny.xie@friction1.com;
                                           elina.zhou@friction1.com

32
     JM Johnson Matthey                    Emily
     456 Devon Park Drive                  P: 610-971 3063
                                                                                   Trade Vendor                                                                 $253,450.68
     Wayne, PA 04284                       F:
                                           bankstl@jmusa.com


33 Hangzhou Zhengqiang Corp., Ltd          Jenssie Yin
                                           P: 086 571-57573069
   Zhangpanqiao Village (Litoujin)
                                           F: 0086-571-82367420
   Shushan Street
                                           xuzq@zhengqiang.com;                    Trade Vendor                                                                 $249,500.20
   Xiaoshan, Hangzhou, ZJ
                                           fuyun@zhengqian.com;
   China
                                           fuyun@xs.hz.zj.cn;
                                           luciayu@zhengqiang.com



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  Debtor         APC Automotive Technologies Intermediate Holdings, LLC                            Case number (if known) ________________         ______




     Name of creditor and complete          Name, telephone number, and    Nature of the claim   Indicate if      Amount of unsecured claim
     mailing address, including zip code    email address of creditor      (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                        debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated,    total claim amount and deduction for value of
                                                                           services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)

                                                                                                                  Total claim, if       Deduction for       Unsecured
                                                                                                                  partially             value of            claim
                                                                                                                  secured               collateral or
                                                                                                                                        setoff


34
     International Brake Indus             Paul Johnson
     1840 Mccullough                       P: 800-537-2838
                                                                              Trade Vendor                                                                  $246,832.98
     Lima, Ohio 45801                      F: 888-424-1061
                                           larry@aup1.com


35 D-Terra Solutions, LLC
   Lawn Service                            Mike Minichello
   PO Box 846                              P: 919-735-0145                    Trade Vendor                                                                  $234,988.15
   Dudley, NC 28333                        F:



36 Laizhou Sanli Auto Replacement          Sally Arms
   Parts Co., Ltd
                                           P: 86 535 2391155
   Zhuqiao Town
                                           F: 0535-3455886                    Trade Vendor                                                                  $232,794.50
   Laizhou City, SD
                                           info@sanliauto.com;
   China
                                           sonnyqi@sanliauto.com

37 QI Automotive Co., Ltd
   No 1 Luanhe Road                        Emily S
   Jiaozhou                                P: 86-53286628131
                                                                              Trade Vendor                                                                  $228,081.52
   Shandong, 266300                        F:
   China                                   bhan@qi-auto.com


38 High Hope Zhongtian Corpo
   15 Hubu Street                          Attn Director or Officer
   Nanjing                                 P: 00-86-025-86895000              Trade Vendor                                                                  $217,370.22
   China                                   F:



39 Taiwan Brake Technology C               Attn Director or Officer
   No. 123-6 Zhonglun Anding Dist          P:
   Tainan,                                 F: XX-XXXXXXX                      Trade Vendor                                                                  $206,293.50
   Taiwan                                  tbt@taiwanbrake.com;
                                           tbt261@taiwanbrake.com

40                                         Zoila
     Emsa Mufflers
                                           P: 919-735-3172
     1111 South George Steet
                                           F: 519-448-1212                    Trade Vendor                                                                  $197,538.75
     Goldsboro, NC 27530
                                           jgarza@emsamufflers.ca;
                                           scontreras@emsamofles.com

41
     IPFS Corporation
                                           Attn Director or Officer
     10 Winslow Rd.
                                           P:                                 Trade Vendor                                                                  $197,186.56
     Weston, CT 06883-1934
                                           F:



42 Parts Authority, Inc.
                                           Randy Buller
   3 Dakota Drive
                                           P: 883-380-8511
   Suite 110                                                                  Trade Vendor                                                                  $193,700.26
                                           F:
   New Hyde Park, NY 11042
                                           contactus@partsauthority.com




  Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                      page 4
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  Debtor         APC Automotive Technologies Intermediate Holdings, LLC                             Case number (if known) ________________         ______




     Name of creditor and complete          Name, telephone number, and     Nature of the claim   Indicate if      Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,    total claim amount and deduction for value of
                                                                            services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)

                                                                                                                   Total claim, if       Deduction for       Unsecured
                                                                                                                   partially             value of            claim
                                                                                                                   secured               collateral or
                                                                                                                                         setoff


43 Heraeus Metals New York
                                           Attn Director or Officer
   540 Madison Avenue
                                           P: 212-752-2180
   Business Unit Trading                                                       Trade Vendor                                                                  $183,750.00
                                           F: 212-752-2180
   New York, NY 10001
                                           tradingny@heraeus.com


44                                         Jorge Rustrian
                                           P: 215-712-5182
     Dorman Products
                                           F:
     P.O. Box 8500 (S-4565)
                                           generalinquiries@dormanproduct      Trade Vendor                                                                  $182,731.30
     Philadelphia, PA 13673
                                           s.com;
                                           CRDorman@dormanproducts.co
                                           m

45 Yantai March Internationa               Attn Director or Officer
                                           P: 0086-5356910801
   No 12 Baoyuan Road
                                           F: 0086-5356910800
   YANTAI CITY, Shandong                                                       Trade Vendor                                                                  $172,715.26
                                           gh32@yietcc.com;
   China
                                           yietcc@public.ytptt.sd.cn;
                                           jumperdk@163.com

46                                         Ed Urbaniak
     AK Tube LLC
                                           P: 419-661-4150
     15317 Collections Center Dr.
                                           F: 419-661-4380                     Trade Vendor                                                                  $170,832.76
     Chicago, IL 60290
                                           bryant@aktube.com;
                                           hildreth@aktube.com

47
     Heidrick & Struggles, Inc
                                           Aaron Slusher
     Softball Leagues
                                           P: 202-331-4900                     Trade Vendor                                                                  $159,402.31
     Hobart, IN
                                           F:



48
     Hypercat ACP                          Attn: Keith Thompson
     1122 West Bethel Rd., 400             P: 972-393-6888
                                                                               Trade Vendor                                                                  $136,945.80
     Coppell, TX 75019                     F:
                                           kthompson@metalsubstrate.com


49
     Integrated Maquila Soluti
                                           Gabriela Moreno
     2000 Wyoming Ave Ste A
                                           P: 915-534-4252                     Trade Vendor                                                                  $134,906.98
     El Paso, TX 79903
                                           F:


50 Wenzhou Libang Hexin Auto
   Industrial Zone Tangxia Town Ruian      Attn Director or Officer
   Wenzhour                                P: 86-135-0657-8682
                                                                               Trade Vendor                                                                  $101,403.01
   Zheijang,                               F:
   China                                   shally@chinalbn.com




  Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                      page 5
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                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                        )
    In re:                                              )    Chapter 11
                                                        )
    AIRTEK, LLC,                                        )     Case No. 20-______ (___)
                                                        )
                            Debtor.                     )
                                                        )


                                  CERTIFICATION OF CREDITOR MATRIX

        Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the United
States Bankruptcy Court for the District of Delaware, the above-captioned debtor and its affiliated debtors
in possession (collectively, the “Debtors”)1 hereby certify that the Creditor Matrix submitted herewith
contains the names and addresses of the Debtors’ creditors. To the best of the Debtors’ knowledge, the
Creditor Matrix is complete, correct, and consistent with Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records as of
the petition date. No comprehensive legal and/or factual investigations with regard to possible defenses to
any claims set forth in the Creditor Matrix have been completed. Therefore, the listing does not, and should
not, be deemed to constitute (1) a waiver of any defense to any listed claims, (2) an acknowledgement of
the allowability of any listed claims, and/or (3) a waiver of any other right or legal position of the Debtors.




1      The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification
       number are as follows: Airtek, LLC (1239); AP Emissions Technologies, LLC (8219); AP Exhaust
       Products DISC, Inc. (0288); APC Automotive Technologies Intermediate Holdings, LLC (0991); APC
       Automotive Technologies, LLC (6651); Aristo, LLC (4542); CWD Acquisition, LLC (4286); CWD Holding
       Corp. (7381); CWD Intermediate Holding Corp. (7285); CWD, LLC (5832); Eastern Manufacturing, LLC
       (2410); Qualis Automotive, L.L.C. (7291); and Qualis Enterprises, Inc. (6610). The Debtors’ principal
       offices are located at 10822 West Toller Drive, Suite 370, Littleton, Colorado 80127.
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    Fill in this information to identify the case and this filing:

   Debtor Name          Airtek, LLC

   United States Bankruptcy Court for the:                                         District of Delaware
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that
is not included in the document, and any amendments of those documents. This form must state the individual’s
position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent
          of the partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the
          information is true and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
            Insiders (Official Form 204)
      ☒     Other document that requires a declaration: List of Equity Security Holders, Corporate Ownership
            Statement, and Certification of Creditor Matrix

    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       06/03/2020                                  /s/ Patricia Warfield
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Patricia Warfield
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202               Declaration Under Penalty of Perjury for Non-Individual Debtors
